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Edward Lang, 76480-054

Thu 12/1/2022 10:24 AM

To: metcalflawnyc@gmail.com <metcalflawnyc@gmail.com>
Cc: hq801@proton.me <hq801@proton.me>

Bcc: Reinard, Dallas (60?) EE ;Phelps, Maggie (GOP)

Q 3 attachments (1 MB)
NCIC Form.pdf; BP_A0243 - Application to enter as legal representative.pdf; LEW Legal Procedures.pdf;

Mr. Metcalf,
I'm contacting you concerning legal video visits scheduled with inmate Edward Lang at USP Lewisburg.

Our protocols permit one hour video visits daily, with requests for additional time to be submitted in
advance. Hoang Quan, who states he is your Senior Paralegal and represented he was setting up video
visits on your behalf, has scheduled visits with Mr. Lang daily for 3-4 hours each. Per our protocol, a copy
of which is attached, the visits will only be scheduled for one hour unless approved in advance. Typically,
an imminent court deadline is the reason for such an extension.

Additionally, it has come to my attention that Mr. Quan is conducting these meetings without you or
another attorney present. We've attempted to reach Mr. Quan at your office without success. In order
for Mr. Quan to engage in legal video visits on your behalf, he will need to complete the attached NCIC
before any further visits can occur. In addition, you and Mr. Quan will need to complete the attached
legal representative form to permit Mr. Quan to act as your representative.

Please let me know if you have any questions.
Best,

Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive
Lewisburg, PA 17837

Fox:

Serving FCC Allenwood, USP Canaan, USP Lewisburg, and FCI Schuylkill
